             Case 2:20-cr-00156-RSM Document 88 Filed 11/04/20 Page 1 of 3




01

02

03

04

05

06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             CASE NO. CR20-156 RSM
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   ELIAS GRAHAM,                        )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14
     Offense charged:       Bank Fraud (two counts); Aggravated Identity Theft
15
     Date of Detention Hearing:    November 3, 2020.
16
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
17
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds
18
     that no condition or combination of conditions which defendant can meet will reasonably assure
19
     the appearance of defendant as required and the safety of other persons and the community.
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            1.      Defendant is charged by Indictment in a multi-defendant, multi-count Bank
22



     DETENTION ORDER
     PAGE -1
            Case 2:20-cr-00156-RSM Document 88 Filed 11/04/20 Page 2 of 3




01 Fraud and Aggravated Identity Theft allegedly involving a scheme to create and cash

02 counterfeit payroll checks from Kroger Company and its subsidiaries in order to obtain money

03 under false pretenses. The co-schemers are alleged to have traveled from this District to stores

04 across the country to cash the checks, using the identity of other persons without permission.

05 This defendant is alleged to have cashed checks in Arizona and Indiana.

06          2.      Defendant has been unemployed for approximately one year. The government

07 alleges defendant is a main suspect in a shooting inside a local Target store in July 2020. The

08 government further alleges defendant attempted to elude arrest for the instant charges by

09 fleeing. Defendant denies both allegations.

10          3.      Defendant poses a risk of nonappearance based on unstable employment and

11 residence, and alleged attempt to elude arrest. Defendant poses a risk of danger based on the

12 nature and circumstances of the offense, and allegations of criminal involving use of a firearm.

13          4.      There does not appear to be any condition or combination of conditions that will

14 reasonably assure the defendant’s appearance at future Court hearings while addressing the

15 danger to other persons or the community.

16 It is therefore ORDERED:

17          1. Defendant shall be detained pending trial, and committed to the custody of the

18               Attorney General for confinement in a correction facility;

19          2. Defendant shall be afforded reasonable opportunity for private consultation with

20               counsel;

21          3. On order of the United States or on request of an attorney for the Government, the

22               person in charge of the corrections facility in which defendant is confined shall



     DETENTION ORDER
     PAGE -2
          Case 2:20-cr-00156-RSM Document 88 Filed 11/04/20 Page 3 of 3




01          deliver the defendant to a United States Marshal for the purpose of an appearance in

02          connection with a court proceeding; and

03       4. The Clerk shall direct copies of this Order to counsel for the United States, to

04          counsel for the defendant, to the United States Marshal, and to the United State

05          Probation Services Officer.

06       DATED this 4th day of November, 2020.

07

08                                                    A
                                                      Mary Alice Theiler
09                                                    United States Magistrate Judge

10

11

12

13

14

15

16

17

18

19

20

21

22



     DETENTION ORDER
     PAGE -3
